Case 2:05-Cr-20254-BBD Document 9 Filed 07/26/05 Page 1 of 2 Page|D 10

 

 

 

 

 

 

 

 

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IN THE uNITED sTATEs nlsTRIc-r coUR-r FO;QJ~ D-C-
FoR THE wEs'rERN st'rRIcT oF TENNESSEE 05 JUL
EASTERN DIVISION 25 PH h: 21
UNITED sTATEs oF AMERICA CLE,"~?;\N }‘]'
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cR. No. (25 gave-kg
vSQ/l>{a/m{¢ §m,fh
Defendant
oRDER on ARRAIGNMENT
This cause came on to be heard on 361 2005

 

The United States Attorney for this district ppea ed on behalf of

the government, and the defendant appeared in person and with
counsel:

Name /1§404 ‘sz/vw¢;»e) (:fYID
(retained)(appointed)

 

Address

 

 

Telephone

The defendant , through counsel, waived formal arraignment
and entered a plea of not guilty.

All motions shall be filed within thirty (30) days from
the date hereof unless, for good cause shown to a district judge,

such eriod is extended.
The defendant, who is not in custody, may stand on his/her

present bond.

The defendant, (not having'made bond) (being a state prisoner)
(being a federal prisoner) (being held without bond pursuant to BRA
of 1984), is remanded to the custody of the U.S. Marshal.

¢©AW K Q@M/¢

United States Magistrate Judge
Charge(s):

 

Assistant U. S. Attorney:
Defendant's Age: iv
Rule 32 (was) (was not) waived.

 

  
 

Thls document entered on the docket she
with Ru|e 55 and/or 32(b) FRCrP on

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case 2:05-CR-20254 Was distributed by faX, mail, or direct printing on
July 27, 2005 to the parties listed.

 

 

Pamela B. Hamrin

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Honorable Bernice Donald
US DISTRICT COURT

